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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      FT. PIERCE DIVISION
   MICHAEL NOEL, KATHLEEN
   WIKSTEN, and CLAIRE LADOUCEUR
   on behalf of themselves and all others
   similarly situated,
                     Plaintiffs,
   v.                                                    CASE NO: 2:21-CV-14492-DMM
   MHC HERITAGE PLANTATION LLC,
   EQUITY LIFESTYLE PROPERTIES,
   INC., f/k/a MANUFACTURED HOME
   COMMUNITIES, INC., MHC OPERATING
   LIMITED PARTNERSHIP, MHC PROPERTY
   MANAGEMENT GP LLC, and MHC
   PROPERTY MANAGEMENT LP.,
               Defendants.
   ____________________________________ /
                                   JOINT STIPULATION OF DISMISSAL

          Plaintiffs Michael Noel, Kathleen Wiksten, and Claire Ladouceur (collectively,

   “Plaintiffs”) and Defendants MHC Heritage Plantation LLC, Equity Lifestyle Properties, Inc., f/k/a

   Manufactured Home Communities, Inc., MHC Operating Limited Partnership, MHC Property

   Management GP LLC, and MHC Property Management LP (collectively, “Defendants”) hereby

   stipulate to dismiss this action with prejudice pursuant to Fed. R. Civ. P. 41(a)(1) and in accordance

   with L.R. 16.4. Each party shall bear their own costs and attorneys’ fees except as otherwise agreed

   by the parties.

          Dated: August 3, 2023.

                                                         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I, Robert C. Gilbert, an attorney, certify that I caused the foregoing to be filed on August

   3, 2023 via CM/ECF which will serve all attorneys of record electronically.



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